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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CIVIL ACTION
IN RE WAWA, INC. : This document applies to the
DATA SECURITY LITIGATION : Consumer Track.

No. 19-6019

and ail related cases.
ORDER

AND NOW, this 30th day of July, 2021:

WHEREAS Plaintiffs Kenneth Brulinski, Kelly Donnelly Bruno, Amanda Garthwaite,
Marisa Graziano, Tracey Lucas, Marcus McDaniel, Joseph Muller, April Pierce, Nicole Portnoy,
Nakia Rolling, Eric Russell, Michael Sussman, and Charmissha Tingle (together, “Consumer
Plaintiffs” or “Plaintiffs”) brought claims in this Court on behalf of themselves and all similarly
situated persons, and have entered into a Settlement Agreement with Defendant Wawa, Inc.
(“Wawa”) dated February 9, 2021 (Doc. No. 181-1), as amended on April 27, 2021 (Doc. No. 201-
1) (the “Settlement Agreement”);

WHEREAS, plaintiff Kasan Laster brought a separate action in the Superior Court of New
Jersey asserting claims that are substantially similar to those brought by the Consumer Plaintiffs,
and that action, Laster v. Wawa, Inc., No. BUR-L-000037-20, has been stayed pending the
outcome of the settlement between Wawa and the Consumer Plaintiffs;

And upon consideration of the Consumer Plaintiffs’ Motion for an Order Preliminarily
Approving Class Action Settlement, Provisionally Certifying Settlement Class, and Directing
Notice (Doc. No. 179), their Memorandum of Law in Support (Doc. No. 180), the Corrected

Proposed Order (Doc. No. 184), the Consumer Plaintiffs’ Joint Declaration of Interim Co-Lead

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Counsel in Support of their Motion (Doc. No. 181), the Declaration of Gregory T. Parks Certifying
Class Action Fairness Act Notice (Doc. No. 185), the Employee Plaintiffs’ Response in Opposition
to the Consumer Plaintiffs’ Motion (Doc. Nos. 187, 188), the Consumer Plaintiffs’ Reply in
Support (Doc. No. 193), Wawa’s Reply in Support (Doc. No. 194), the Employee Plaintiffs’
Surreply in Opposition (Doc. Nos. 195, 196), the Consumer Plaintiffs’ Notice of Amended
Settlement Agreement (Doc. No. 201) and the Revised Proposed Order (Doc. No. 202), the
preliminary approval hearing held on May 5, 2021, the Joint Status Report Concerning the
Proposed Consumer Track Class Action Settlement (Doc. No. 209), having reviewed the
Settlement Agreement and its accompanying and supporting papers,! and for the reasons set forth
in the accompanying Memorandum, it is ORDERED as follows:

A. Preliminary Approval of the Settlement

1. The Court has assessed the fairness, reasonableness, and adequacy of the Settlement
and finds that, at the final approval stage, the Court likely will be able to approve the Settlement
under the criteria set forth in Federal Rule of Civil Procedure 23(e)(2) and certify the Settlement
Class under the criteria set forth in Rules 23(a) and 23(b)(3) of the Federal Rules of Civil
Procedure, and that therefore notice to Settlement Class Members is warranted.

2, The Court therefore preliminarily approves the Settlement on the terms set forth in
the Settlement Agreement, subject to further consideration at the Final Approval Hearing. See
Fed. R. Civ. P. 23(e)(1)(B)@)-Gi).

B. Appointment of the Settlement Administrator

3, The Court has considered the background information related to the Settlement

Administrator proposed by Plaintiffs, and hereby appoints KCC, LLC to serve in this position.

l For the purposes of this Order, if not defined herein, capitalized terms have the definitions set forth
in the Settlement Agreement (Doc. No. 201-1), which is incorporated herein by reference.

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The Settlement Administrator shall conduct the settlement administration procedures set forth in
the Settlement Agreement.

4, Pursuant to the Settlement Agreement, the cost of the Settlement Administrator’s
services, and all other reasonable costs of settlement administration, shall be paid out of a lump
sum fund that Wawa has agreed to pay for all of the following: settlement administration services,
any attorneys’ fees and expenses awarded by the Court, and any service awards to Class
Representatives that the Court may authorize.

Cc, Approval of the Settlement Notice and Notice Program

5. Pursuant to Rules 23(c)(2)(B) and 23(e)(1) of the Federal Rules of Civil
Procedure, the Court approves the form, substance, and requirements of the Notice Program as
defined and described in the Settlement Agreement, including the Long Form Notice and Claim
Forms attached hereto as Exhibits A and B (with the Court’s edits), respectively, Store Notice
attached as Exhibit C to the Settlement Agreement (Doc. No. 181-1), Press Release attached as
Exhibit D to the Settlement Agreement (Doc. No. 181-1), and the Settlement Website discussed in
the Settlement Agreement. The Notice Program shall commence within thirty (30) days of the
entry of this Order.

6. The Long Form Notice reasonably explains Settlement Class Members’ rights and
responsibilities, and adequately details the nature of the action; the Settlement Class definition;
how to file a claim; Settlement Class Members’ rights to make an appearance with an attorney,
request exclusion from the Settlement Class and object to the Settlement; the scope of the release

of Wawa; and the binding effect of a Class judgment. See Fed. R. Civ. P. 23(¢)(2)(B)G@)-(vi).
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7. The Long Form Notice also explains that Class Counsel may request up to
$3,200,000 in the aggregate for attorneys’ fees, reimbursement of expenses, the costs of settlement
administration, and service awards of $1,000 for each Class Representative.

8. The Court finds that the Notice Program approved by this Order meets the
requirements of Federal Rule of Civil Procedure 23 and due process, is reasonable, and constitutes
the best notice practicable under the circumstances.

D. Provisional Certification of the Settlement Class

9, Pursuant to Federal Rule of Civil Procedure 23, the Court provisionally certifies,
for settlement purposes only, the following Settlement Class:

All residents of the United States who used a credit or debit card at a Wawa location

at any time during the Period of the Data Security Incident of March 4, 2019

through December 12, 2019. Excluded from the Settlement Class are Wawa’s

executive officers and the Judge to whom this case is assigned.

10. The Court finds, for settlement purposes only, that the Settlement Class meets all
prerequisites for class certification under Rules 23(a) and 23(b)(3) of the Federal Rules of Civil
Procedure, including: (a) the Settlement Class is so numerous that joinder of all members is
impracticable; (b) there are questions of law and fact common to the Settlement Class; (c) the
claims of the representative parties are typical of the claims of the class; (d) Plaintiffs and their
counsel are capable of fairly and adequately protecting the interests of the Settlement Class; (e)
common questions of law and fact predominate over questions affecting only individual Settlement
Class Members; and (f) certification of the Settlement Class is superior to other available methods
for the fair and efficient resolution of the claims of Settlement Class Members.

il. For settlement purposes only, the Court appoints Kenneth Brulinski, Kelly

Donnelly Bruno, Amanda Garthwaite, Marisa Graziano, Tracey Lucas, Marcus McDaniel, Joseph

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Muller, April Pierce, Nicole Portnoy, Nakia Rolling, Eric Russell, Michael Sussman, Charmissha
Tingle, and Kasan Laster as Settlement Class Representatives.

12. Pursuant to Federal Rule of Civil Procedure 23(g)(3), the Court appoints Sherrie
Savett of Berger Montague PC, Benjamin Johns of Chimicles Schwartz Kriner & Donaldson-
Smith LLP, Roberta Liebenberg of Fine, Kaplan and Black, R.P.C., and Linda Nussbaum of
Nussbaum Law Group, P.C. as Class Counsel. Class Counsel shall ensure that the Notice Program
and Claims Administration services contemplated by the Settlement Agreement are implemented.

13. The Court approves the Opt-Out and Objection procedures detailed in the
Settlement Agreement.

14. Any Class Members who wish to exclude themselves from the Settlement Class
must follow the Opt-Out procedures described in the Long Form Notice, including filing any Opt-
Out Request by the Opt-Out Deadline specified below. Any Class Members who exclude
themselves from the Settlement Class are not eligible to object to the Settlement.

15. Any Settlement Class Members who wish to object to the Settlement must follow
the objection procedures described in the Long Form Notice, including filing any Objection by the
Objection Deadline specified below.

16. At least thirty (30) calendar days prior to the Final Approval Hearing, Wawa shall
file with the Court proof of its compliance with the requirements of the Class Action Fairness Act,
28 U.S.C. § 1715(b) as to service of notice of the proposed Settlement upon the appropriate state
and federal officials.

17. Pursuant to Federal Rule 23(e)(2), the Court will hold a Final Approval Hearing on
the date and time set forth below in Courtroom 10B of the United States Courthouse, 601 Market

Street, Philadelphia, PA 19106 for the following purposes:
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a. to determine whether the proposed Settlement is fair, reasonable, and
adequate and should be granted final approval by the Court pursuant to Federal Rule of
Civil Procedure Rule 23(e);

b, to determine whether the Settlement Class should receive final certification
under Federal Rules of Civil Procedure 23(a) and 23(b)(3);

c, to determine whether a Final Judgment should be entered dismissing the

claims of the Settlement Class against Wawa with prejudice, as required by the Settlement

Agreement;
d, to consider the request for service awards to the Class Representatives;
e. to consider Class Counsel’s motion for an award of attorneys’ fees,

litigation expenses, and payment of settlement administration expenses;
f. to consider any objections submitted by Settlement Class Members; and
g. to consider such other matters as the Court may deem appropriate.

EK. Schedule for Motion for Final Approval and Final Approval Hearing

18. The Court establishes the following schedule for future settlement approval events.”
Event Time for Compliance Date
Creation of Settlement Website [30 days after entry of Preliminary August 30, 2021
Approval Order
Notice Issuance Date 30 days after entry of Preliminary August 30, 2021
Approval Order
Deadline for Class Counsel’s 90 days after entry of Preliminary October 28, 2021

Application for Attorneys’ Fees, |Approval Order
Expenses, and Service Awards
for Settlement Class

Representatives

Opt-Out and Objection Deadline }105 days after entry of Preliminary November 12, 2021
Approval Order

Claims Deadline 120 days after entry of Preliminary November 29, 2021

Approval Order

Some dates vary slightly to account for dates that would otherwise have fallen on a weekend.

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Deadline for Motion in Support 150 days after entry of Preliminary December 27, 2021

of Final Approval of Settlement {Approval Order

January 26, 2022 at
10:00 a.m.

Final Approval Hearing No earlier than 180 days after entry of
Preliminary Approval Order

GENF’E.K. PRATTER
UNITED STATES DISTRICT JUDGE

